96 F.3d 1438
    NOTICE: Fourth Circuit Local Rule 36(c) states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.William M. BAILEY, Petitioner-Appellant,v.Thomas R. CORCORAN;  Attorney General of the State ofMaryland, Respondents-Appellees.
    No. 96-6341.
    United States Court of Appeals, Fourth Circuit.
    Submitted Aug. 22, 1996.Decided Sept. 10, 1996.
    
      William M. Bailey, Appellant Pro Se.  Ann Norman Bossee, OFFICE OF THE ATTORNEY GENERAL OF MARYLAND, Baltimore, Maryland, for Appellee.
      D.Md.
      AFFIRMED.
      Before RUSSELL, HALL, and WILLIAMS, Circuit Judges.
      PER CURIAM:
    
    
      1
      Appellant appeals from the district court's order denying relief on his 28 U.S.C. § 2254 (1988) petition.  We have reviewed the record and the district court's opinion accepting the recommendation of the magistrate judge and find no reversible error.  Accordingly, we affirm on the reasoning of the district court.   Bailey v. Corcoran, No. CA-94-3620-WMN (D.Md. Feb. 29, 1996).  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the court and argument would not aid the decisional process.  The motion for appointment of counsel is denied.
    
    AFFIRMED
    